                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )       Case No. 6:18-cr-03042-02-SRB
                                             )
LUCIAN ROBINSON,                             )
                                             )
               Defendant.                    )

                                              ORDER

       Before the Court is Defendant Lucian Robinson’s pro se filing entitled Attachments for

Motion for Reconsideration (Doc. #237). Defendant asks the Court to reconsider its prior Order

denying Defendant’s pro se Exigent and Emergent Motion for Reduction in Sentence under 18

U.S.C. § 3582 and pro se Motion for Appointment of Counsel (Doc. #226). The Court construes

Defendant’s filing as a motion for reconsideration. In support of the motion, Defendant filed proof

of exhaustion of administrative remedies and his Bureau of Prisons medical records. Upon review

of the record, the Court once again finds that Defendant’s age and health conditions do not rise to

the level of extraordinary and compelling circumstances warranting compassionate release.

Accordingly, it is ORDERED that Defendant Lucian Robinson’s pro se motion for reconsideration

(Doc. #237) is denied.

       IT IS SO ORDERED.



DATED: July 20, 2020                                 /s/ Stephen R. Bough
                                                     STEPHEN R. BOUGH, JUDGE
                                                     UNITED STATES DISTRICT COURT




            Case 6:18-cr-03042-SRB Document 238 Filed 07/20/20 Page 1 of 1
